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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,

                                                           Case No. 05-CR-80369
vs.                                                        HON. GEORGE CARAM STEEH

PHILLIP WALLS D-4,
AMANDA CHAMBERS D-9,
MICHELLE WALLS D-5,
RICCARDO TOLLIVER D-3,
and LINDA MASON D-7,

                      Defendants.

_____________________________/

            ORDER DENYING DEFENDANT PHILLIP WALLS' MOTION
      FOR PRETRIAL DISCLOSURE OF IMPEACHING INFORMATION (#112) AND
         DEFENDANTS CHAMBERS', MICHELLE WALLS', TOLLIVER'S AND
        MASON'S JOINDERS IN THE MOTION (#116, #117, #118, #119, #122)

       Defendant Phillip Walls moves for pretrial disclosure of impeaching information

regarding all witnesses to be called at trial, who testified before the grand jury, or who

furnished statements during the investigation of this case, including the disclosure of "rap

sheets," prior misconduct or bad acts, promises or consideration given to any government

witness, identification of previous testimony given in any court, grand jury proceeding, or

other similar body or tribunal, or any other evidence material to Walls' guilt or punishment.

The government responds that it is unaware of any such impeachment evidence with

respect to law enforcement officers it intends to call at trial, and that it has yet to determine

which civilian witnesses it will call at trial. The government acknowledges its obligation to

disclose impeachment evidence in time for use for trial.

       The doctrine announced in Brady v. Maryland, 373 U.S. 83 (1963) did not create a

constitutional right to pre-trial discovery in a criminal proceeding. United States v. Presser,

844 F.2d 1275, 1284 (6th Cir. 1988). As to impeachment material:
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       . . . . [T]he government cannot be compelled to disclose impeachment
       material which would be covered by the Jencks Act [18 U.S.C. § 3500]
       relating to any potential government witness, whether it be a witness in the
       case-in-chief or a rebuttal witness. Further, the government need not
       disclose impeaching material in its possession relating to any potential
       defense witness where that impeaching material does not meet the Brady
       test of being material and exculpatory.

Id.   A criminal defendant does not have a general right to pre-trial discovery of

impeachment evidence where the prosecution denies that the material is exculpatory and

material. Id. at 1283.

       . . . So long as the defendant is given impeachment material, even
       exculpatory impeachment material, in time for use at trial, we fail to see how
       the Constitution is violated. Any prejudice the defendant may suffer as a
       result of disclosure of the impeachment evidence during trial can be
       eliminated by the trial court ordering a recess in the proceedings in order to
       allow the defendant time to examine the material and decide how to use it.

Id.

       The government has recognized it obligation to disclose impeachment evidence in

time for use at trial. Consistent with Brady, Presser, and the Jencks Act, defendant Walls'

motion for pretrial disclosure of impeachment evidence is hereby DENIED, as are

defendants Chambers', Michelle Walls', Tolliver's, and Mason's separate joinders in the

motion.

       SO ORDERED.

Dated: February 13, 2007

                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                      February 13, 2007, by electronic and/or ordinary mail.

                                      s/Josephine Chaffee
                                          Deputy Clerk




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